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   Motschenbacher & Blattner LLP
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               Of Attorneys for Debtor Edward A. Ariniello, Jr.


                                    UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


    In re:                                                   Case No. 21-31142-dwh11

    EDWARD A. ARINIELLO, JR.,                             DECLARATION OF EDWARD A.
                                                          ARINIELLO, JR. IN SUPPORT OF
                              Debtor.                     CONFIRMATION OF CHAPTER 11,
                                                          SUBCHAPTER V PLAN


               I, Edward Ariniello, make this declaration in support of confirmation of my Chapter 11,

   Subchapter V, Plan Dated August 17, 2021 [ECF No. 30] (the “Plan”) as may be amended at the

   Confirmation Hearing on January 21, 2021. I declare and state as follows:

                                                  BACKGROUND

               1.     I am the Debtor in the above-captioned bankruptcy case. I have first-hand knowledge of

   the facts stated in this declaration and, if called as a witness, could testify competently thereto.

               2.     I believe the Plan complies with the applicable provisions of Title 11 of the United States

   Code (the “Bankruptcy Code”), including, without limitation, that the Plan properly designates classes

   of claims, classifies only substantially similar claims in the same class, provides adequate and proper

   means for implementation, and payments to creditors from the continuation of ongoing business




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                      SUBCHAPTER V PLAN                                                      Phone: 503-417-0500
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   operations sufficient for execution of the Plan. I am not a corporation. The Plan was not proposed with

   the principal purpose of the avoidance of taxes or the Securities Act of 1933, as amended.

               3.    To the best of my knowledge, I have complied with the applicable provisions of the

   Bankruptcy Code.

               4.    I believe the Plan has been proposed in good faith and not by any means forbidden by

   law.

               5.    I believe the Plan fully treats and pays all classes of creditors in a fashion consistent with

   the Bankruptcy Code.

               6.    I have appeared at all appearance-required hearings and have completed all court required

   reporting.

               7.    I have tried to disclose every piece of property, even when I may be determined not to

   have an interest in such property.

               8.    I further believe that the Plan has an adequate means for implementation and provides for

   alternatives in the event of default.

               9.    During the performance of the Plan, I will contribute post-petition income of not less than

   $35,147.96 for my creditors with allowed claims.

               10.   Any payment made by me for services or for costs and expenses in or in connection with

   the case, or in connection with the Plan and incident to the case, has been approved by, or is subject to

   the approval of, the Court as reasonable.

               11.   I have not made, and will not make, any payments for costs, expenses, or services

   provided by professionals in connection with this case outside of those approved by the Court. The Plan

   provides that my professionals are to be paid by on an administrative basis only after such fees are

   approved by the Court.


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               12.   My Plan provides that with respect to each impaired class of claims or interests each

   holder of a claim or interest of such class has accepted the Plan; or will receive or retain under the Plan

   on account of such claim or interest property of a value, as of the Effective Date of the Plan, that is not

   less than the amount that such holder would so receive or retain if the assets of my estate were liquidated

   under Chapter 7 of the Bankruptcy Code.

               13.   My Plan proposes that I will contribute at least $35,147.96 to the plan, plus all tax

   refunds received during the three-year period following Plan confirmation. The liquidation analysis

   attached hereto as Exhibit 1, indicates that my creditors would only receive $15,147.96 if my assets

   were liquidated in a Chapter 7 case. Therefore, my Plan provides that unsecured creditors will receive

   under the Plan, on account of their claims, property having a value, as of the date of confirmation of the

   Plan, that is equal to the amount that such creditor would receive if my nonexempt assets were

   liquidated under a Chapter 7 case.

               14.   I do not have any claims against me that are entitled to priority under Section 507(a)(1)

   for domestic support obligations.

               15.   Except to the extent that the holder of a particular claim has agreed to a different

   treatment of such claim, my Plan provides that with respect to a claim of a kind specified in Section

   507(a)(2) or 507(a)(3) of Title 11 of the United States Code, on the Effective Date of the Plan, the

   holder of such claim will receive on account of such claim cash equal to the allowed amount of such

   claim.

               16.   Unless otherwise agreed in writing by the holder of an administrative claim, all

   administrative claims will be paid in accordance with the requirements of the Bankruptcy Code.

               17.   The Debtor has no claims against it entitled to priority under Section 507(a)(3), as that

   section applies only to involuntary petitions. This case was commenced voluntarily.


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               18.   I do not have any claims against me that are entitled to priority under Section 507(a)(4)

   for wages, salaries, or commissions, including vacation, severance, and sick leave pay earned by an

   individual, or sales commissions earned by an individual or a corporation with only one employee.

               19.   I do not have any claims against me that are entitled to priority under Section 507(a)(5)

   for pre-petition contributions to employee benefit plans have been satisfied post-petition.

               20.   I do not have any claims against me that are entitled to priority under Section 507(a)(6) as

   I do not own or operate a grain storage facility, and it has not acquired fish or fish produce from a

   United States fisherman.

               21.   I do not have any claims against me that are entitled to priority under Section 507(a)(7)

   for deposits related to the purchase, lease, or rental of property or the purchase of services for personal,

   family, or household use.

               22.   With respect to claims against me that are entitled to priority under Section 507(a)(8),

   including claims which would be entitled to priority under Section 507(a)(8) but for the secured status of

   that claim, the Plan provides that the holder of such claim will receive on account of such claim a

   payment in cash from U.S. Outdoor Holding, LLC (“USOH”). I am the managing member of USOH,

   and I am the person in charge operating that entity and performing its obligations under its own Chapter

   11, Subchapter V Plan. I have caused USOH to make payments to its Plan that will be used to pay the

   priority tax claims in full.

               23.   I do not have any claims against me that are entitled to priority under Section 507(a)(9)

   for any commitment by the Debtor for or to a Federal depository institutions regulatory agency (or

   predecessor to such agency) to maintain the capital of an insured depository institution.

               24.   I do not have any claims against me that are entitled to priority under Section 507(a)(10)

   for claims for death or personal injury resulting from the operation of a motor vehicle or vessel if such


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   operation was unlawful because the debtor was intoxicated from using alcohol, a drug, or another

   substance.

               25.   I have entered into a settlement agreement with certain parties in interest. If that

   settlement is approved by the Court, At least one class of claims that is impaired under the Plan has

   accepted the Plan, determined without including any acceptance of the Plan by any insider.

               26.   Confirmation of the Plan is not likely to be followed by the liquidation, or the need for

   further financial reorganization, unless such liquidation or reorganization is proposed in the Plan.

               27.   I have reviewed the financial statements and the projections for my future income and

   expenses. The financial projections were prepared by me and my wife, based on information we have

   available to us. The projections attached as Exhibit 2. Based on my familiarity with the facts

   surrounding my budget and projections, I believe that I will be able to perform my obligations under the

   Plan, including all of my payment obligations.

               28.   The income and expense numbers used in my projected budget are realistic because they

   are based on existing income and expenses.

               29.   All fees payable under Section 1930 of Title 28 of the United States Code, as determined

   by the Court at the Confirmation Hearing, have been paid or the Plan provides for the payment of all

   such fees on the Effective Date of the Plan.

               30.   The requirements for continuation of retiree benefits under Section 1129(a)(13) are

   inapplicable because I am not obligated to pay for any retiree benefits.

               31.   I do not have, nor do I anticipate, any claims for domestic support obligation that first

   become payable after the date of the filing of the petition.

               32.   The Plan does not discriminate unfairly, and is fair and equitable, with respect to each

   class of claims or interests that is impaired under, and has not accepted, the Plan.


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               33.      I believe that all procedures used to distribute solicitation materials for the Plan and to

   tabulate the ballots were fair and conducted in accordance with the Bankruptcy Code, Bankruptcy Rules,

   the Local Bankruptcy Rules, and all other rules, laws, and regulations.

   I HEREBY DECLARE THAT THE ABOVE STATEMENTS ARE TRUE TO THE BEST OF MY

   KNOWLEDGE AND BELIEF AND THAT I UNDERSTAND THE ABOVE STATEMENTS ARE

   MADE FOR USE AS EVIDENCE IN COURT AND ARE SUBJECT TO PENALTY FOR PERJURY.


               Dated:

                                                               Edward A. Ariniello, Jr., Declarant




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               EXHIBIT 1

        LIQUIDATION ANALYSIS




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In re: Edward A. Ariniello Jr.
Case No. 21‐31142‐dwh11

                                                                        Exhibit 1 - Ariniello Liquidation Analysis           attached           dkt. ___
                                                                                                                                19
1. Total from bankruptcy Schedule A:                $    800,000.00    A/B.28. Tax Refunds                               $           -
Less: Anticipated Cost of Sale                      $    (64,000.00)   A/B.29. Family Support                            $           -
Less: Mortgage (Non-Filing Spouse)                  $   (510,000.00)   A/B.30. Amounts Owed to You                       $           -
Less: Spouse's 50% Interest:                        $   (113,000.00)   A/B.31. Insurance Policies (Cash Value)           $           -
                                                                       A/B.32. Inheritance Interests                     $           -
                                                    $          -       A/B.33. Claims Against Third-Parties              $           -
            2.Adjusted total, Schedule A property   $   113,000.00     A/B.34. Other Claims                              $           -
3. Total from bankruptcy Schedule B                 $          -       A/B.35. Other Financial Assets (specify):         $           -     Notes on valuation: Subject to any court order
A/B.3. Vehicles                                     $     6,910.50     A/B.53. Other Property of Any Kind (specify):     $           -     or attached continuation sheet:
A/B.4. Camping Trailer and Boat                     $     3,500.00           Horses, Supplies                            $        350.00   (1) Real estate valuation assumes 8% costs of
A/B.6. Household goods and furnishings              $     2,662.50           Grape Vines                                 $      1,250.00   sale.
A/B.7. Electronics                                  $     1,000.00           Farm Equipment                              $      1,000.00   (2) Amount of unsecured debt assumes sale of
A/B.8. Collectibles                                 $          -                     4.Adjusted total, Sch. B property   $     29,923.00   practice closes and partially pays down debt.
A/B.9. Equipment for Sports/Hobbies                 $     2,500.00     5. Other (e.g., avoidance actions-itemize)        $           -
A/B.10. Firearms                                    $     2,500.00     6. Total Assets (ln.2+4+5)                        $    142,923.00
A/B.11. Clothes                                     $     2,000.00     7. Claims Senior to General Unsecured Claims                              Hypothetical chapter 7 trustee fees
A/B.12. Jewelry                                     $     1,000.00     7a. Secured claims (after bifurcation)            $           -     $     142,923.00 Total disbursements
A/B.13. Non-farm Animals                            $          -       7b. Chapter 7: trustee fees (from sidebar)        $      7,673.65   $     (54,450.00) Minus exemptions
A/B.14. Other Personal and Household Items          $          -       7c. Chapter 7: other costs of administration      $           -     $            -     Minus adjustments*
A/B.16. Cash                                        $       250.00     7d. Chapter 11: unpaid professionals' fees        $     25,000.00   $      88,473.00 = Net disbursements
A/B.17. Checking and Savings Accounts               $          -       7e. Chapter 11: other administrative costs        $           -                  § 326 calculations
A/B.18. Ameritrade Account                          $           -      7f. Priority claims (bankruptcy Schedule E)       $     97,714.43 $          5,000.00 X 25%= $            1,250.00
A/B.19. Closely Held Business Interests             $           -      7g. Debtor's exemptions (bankr. Sch.C)         $         54,450.00 $         45,000.00 X 10%= $           4,500.00
A/B.20. Gov. and Corp. Bonds                        $           -      7h. Other/adjustments (See Notes on valuation) $               -    $        38,473.00 X 5%= $            1,923.65
A/B.21. Retirement Accounts                         $      5,000.00    8. Total Senior Claims (ln. 7a to 7h)          $        184,838.08 $                 -    X 3%= $              -
A/B.22. Security Deposits                           $           -      9. Net available for unsecured (ln.6-ln.8)     $               -    $        88,473.00 Totals $           7,673.65
A/B.23. Annuities                                   $           -      10a.Gen. unsecured claims from schedule F      $      2,837,879.10            Adjustment (if any) $            -
A/B.24. Tuition Programs, Education IRAs            $           -      10b.Other gen. unsecured claims (if any)       $               -                       Trustee Fee $      7,673.65
A/B.25. Trusts                                      $           -      11.Total gen. unsecured (ln.10a+10b)           $      2,837,879.10 *Adjustments would include, e.g., estimated
A/B.26. Patents, copyrights, other IP               $           -      12. Ch. 7 Estimated Dividend (ln.9/ln.11)                     None refunds, and non-estate funds/ assets returned
A/B.27. Licenses, Franchises, Other Intang.         $           -      13. Plan Dividend (Classes 5 and 7)            $         15,147.96 to third parties.




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               EXHIBIT 2

   PROJECTED INCOME AND EXPENSES




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                                        In re: Edward A. Ariniello, Jr.
                                        Bankr. Case No. 21-31142-dwh11


                                                                                               EXHIBIT 2
                                                                                         FINANCIAL PROJECTIONS

                                                                             11/1/21 – 10/31/22      11/1/22 – 10/31/23      11/1/23 – 10/31/24             Totals
                                        1) Projected Household
                                                                                 $152,740                 $160,379                $168,400                $481,520
                                           Gross Income
                                        2) Projected Household
                                                                                 ($40,060)               ($42,065)                ($44,175)               ($126,300)
                                           Tax Withholding
                                        3) Projected Insurance Costs
                                                                                  ($1,575)                ($1,675)                ($1,775)                 ($5,025)
                                        4) Projected Retirement
                                                                                  ($4,850)                ($5,000)                ($5,200)                ($15,050)
                                           Contributions
                                        5) Domestic Support Obligations
                                                                                 ($10,650)               ($10,650)                ($10,650)               ($31,950)




Case 21-31142-dwh11
                                        6) Projected Net Income
                                                                                  $95,605                 $100,990                $106,600                $303,195
                                        7) Projected Household
                                                                                 ($92,485)               ($96,190)               ($100,000)               ($288,675)




Doc 89
                                           Expenses
                                        8) Projected “Net Disposable
                                                                                   $3,120                  $4,800                  $6,600                  $14,520
                                           Income”

                                        NOTES / ASSUMPTIONS:

                                        1) All figures are annual figures.

                                        2) The 2021 to 2022 figures are based on the Debtor’s Amended Schedules I & J [ECF No. 29], which are attached.

                                        3) The figures for 2022 to 2023, and for 2023 to 2024, were projected by estimating approximately 5% growth year-over-year for
                                           income, and approximately 4% inflation year-over-year for projected household expenses. The projections also include estimated
                                           increases for insurance premiums.




Filed 02/09/22Exhibit 2 - Page 1 of 5
Fill in this information to identify your case:

Debtor 1                      Edward A. Ariniello, Jr.

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON

Case number               21-31142-dwh11                                                                Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            Business Owner                              Dental Operations Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       U.S. Outdoor Holding LLC                    Clackamas County Health Centers

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                                                               Oregon City, OR

                                             How long employed there?         4 years                                   2 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         5,999.50        $         6,729.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,999.50               $   6,729.00




Official Form 106I

                                            Case 21-31142-dwh11               Doc 89        Filed 02/09/22Exhibit 2 - Page 2 of 5
Debtor 1   Edward A. Ariniello, Jr.                                                              Case number (if known)    21-31142-dwh11


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,999.50       $         6,729.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,430.00       $        1,908.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $          404.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $            0.00
     5e.    Insurance                                                                     5e.        $          0.00       $          131.00
     5f.    Domestic support obligations                                                  5f.        $        886.17       $            0.00
     5g.    Union dues                                                                    5g.        $          0.00       $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,316.17       $        2,443.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,683.33       $        4,286.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,683.33 + $       4,286.00 = $           7,969.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           7,969.33
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Debtor's non-filing spouse will begin making contributions to a retirement account in September of
                             2021. Those anticipated contributions have been accounted for in these amended schedules.




Official Form 106I

                                      Case 21-31142-dwh11                    Doc 89       Filed 02/09/22Exhibit 2 - Page 3 of 5
Fill in this information to identify your case:

Debtor 1                Edward A. Ariniello, Jr.                                                           Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON                                                         MM / DD / YYYY

Case number           21-31142-dwh11
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              2,664.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                 0.00




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Debtor 1     Edward A. Ariniello, Jr.                                                                  Case number (if known)      21-31142-dwh11

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 85.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                372.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                               100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                35.00
10.   Personal care products and services                                                    10. $                                                250.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 842.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 325.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  108.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  187.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Non-Filing Spouse's Debt and Credit Card Payments                   21. +$                                                500.00
      Orthodontics                                                                                +$                                               138.00
      Pest Control                                                                                +$                                                31.00
      Portland Parking                                                                            +$                                               370.00
      Non-Filing Spouse's Savings                                                                 +$                                               300.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,707.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,707.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,969.33
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,707.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 262.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




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                                            CERTIFICATE OF SERVICE

               I hereby certify that on the date set forth below, a true and correct copy of the foregoing

   DECLARATION OF EDWARD A. ARINIELLO, JR. IN SUPPORT OF CONFIRMATION OF

   CHAPTER 11, SUBCHAPTER V PLAN was provided to the following parties through the Court’s

   Case Management/Electronic Case File system:


       •       NICHOLAS J HENDERSON nhenderson@portlaw.com, tcoble@portlaw.com;
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       •       US Trustee, Portland     USTPRegion18.PL.ECF@usdoj.gov

       •       JESSIE YOUNG         jessie.young@usdoj.gov, nicole.smith@usdoj.gov

               I further certify that on the date set forth below, a true and correct copy of the above-described

   document was sent to the following parties via first class mail, postage prepaid:

               NONE

   DATED: February 9, 2022.
                                                     MOTSCHENBACHER & BLATTNER, LLP

                                                     /s/Nicholas J. Henderson
                                                     Nicholas J. Henderson, OSB No. 074027
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